




NO. 07-09-0123-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JUNE 17, 2009



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IN THE INTEREST OF D.C.R. AND K.S.R., CHILDREN





_________________________________



FROM THE 286TH DISTRICT COURT OF HOCKLEY COUNTY;



NO. 00-02-17934; HONORABLE PAT PHELAN, JUDGE



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Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

Appellant, Rebecca Michele Willis, perfected this appeal from the trial court’s order modifying the child support obligation of Appellee, Israel Loa Reyna. &nbsp;Pending before this Court is Willis’s 
Motion for Voluntary Dismissal 
in which she represents that she no longer wishes to pursue this appeal. &nbsp;The Certificate of Conference reflects that Reyna agrees with the merits of the motion. &nbsp;No decision of this Court having been delivered, we grant the motion and dismiss the appeal. &nbsp;Tex. R. App. P. 42.1(a)(1). &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed.

Patrick A. Pirtle

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice






